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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION

 LINDA MORGAN,

 Plaintiff,                                          Case No.: 2:18-cv-00159-TLS-APR

 v.                                                  Honorable Judge Theresa L. Springman

 J.P. MORGAN CHASE BANK, N.A.,                       Honorable Judge Andrew P. Rodovich
                                                     Magistrate Judge
 Defendant,

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        NOW COMES the Plaintiff, LINDA MORGAN (“Plaintiff”), by and through her

attorneys, SULAIMAN LAW GROUP, LTD., and, in support of her Notice of Voluntary

Dismissal with Prejudice, state as follows:

        Plaintiff, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby voluntarily

dismisses her claims against the Defendant, J.P. MORGAN CHASE BANK, N.A., with prejudice.

Each party shall bear its own costs and attorney fees.

Dated: August 22, 2018                                Respectfully Submitted,

                                                      s/ Nathan C. Volheim
                                                      Nathan C. Volheim, Esq.
                                                      Counsel for Plaintiff
                                                      Admitted in the Northern District of Indiana
                                                      Sulaiman Law Group, Ltd.
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Nathan C. Volheim_____
                                                              Nathan C. Volheim




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